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                       EXHIBIT 3
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                                                   July 16, 2018

VIA EMAIL

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       Re:     In Re National Prescription Opioid Litigation; Case No. 17-md-2804
               The County of Cuyahoga, Ohio, et al. v. Purdue Pharma L.P., et al.; Case No. 17-md-2804
               CMO No. 1 ¶ 9(l)(iii)
Counsel,

     We are writing on behalf of Cuyahoga County pursuant to CMO No. 1 ¶ 9(l)(iii). CMO No. 1 ¶
9(l)(iii) provides,

       No later than, Monday, July 16, 2018, each Plaintiff in cases in Track One that
       alleges money damages based upon unnecessary prescriptions shall identify: (a) the
       prescriptions that each Plaintiff asserts were medically unnecessary or medically
       inappropriate, to whom they were written, and whether Plaintiff reimbursed for
       them; (b) the physicians or healthcare providers who wrote the prescriptions; and (c)

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       Plaintiff’s basis for identifying the prescriptions that it asserts are medically
       unnecessary or medically inappropriate.

   Id. (emphasis in the original).

   Cuyahoga County is not seeking reimbursement for opioid prescriptions for which it paid based
on the allegation that they were medically unnecessary or medically inappropriate, and therefore,
CMO No. 1 ¶ 9(l)(iii) does not apply to Cuyahoga County.

                                                   Sincerely,
                                                   /s/ Hunter J. Shkolnik
                                                   Hunter J. Shkolnik
                                                   Salvatore C. Badala
                                                   Joseph L. Ciaccio




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